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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :       CASE NO. 21-CR-228 (CRC)
                                            :
ERIC BARBER,                                :
                                            :
        Defendant.                          :


                       NOTICE OF SUBSTITUTION OF COUNSEL

        The United States of America, by and through its undersigned counsel, the United States

Attorney for the District of Columbia, hereby informs the Court that Assistant United States

Attorney Eric Boylan is entering his appearance in this matter on behalf of the United States and

substituting for Assistant United States Attorney Brenda Johnson, who is no longer assigned to

this case.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                     By:    /s/ Eric W. Boylan
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